                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

In re:   SARAI SERVICES GROUP, INC.1                  )
                                                      )           Case No.: 18-82948-CRJ-11
                                                      )
             Debtor.                                  )           CHAPTER 11
_______________________________________)

              ORDER APPROVING AMENDED SECOND MOTION FOR INTERIM
                      PROFESSIONAL FEES AND EXPENSES FOR
                        CHAPTER 11 DEBTOR’S ATTORNEYS

          This matter came before the Court for hearing upon the Debtor’s Amended Motion for Approval
of Interim Professional Fees and Expenses for Chapter 11 Debtor’s Attorneys (Doc. 196). After proper
notice, a hearing was held on May 6, 2019 with appearances by Tazewell T. Shepard IV on behalf of the
Debtor, William M .Hancock on behalf of Pearl Capital, and Richard M. Blythe on behalf of the
Bankruptcy Administrator.

      The Bankruptcy Administrator reviewed the application and has recommended approval of the
compensation and expenses in the amount of $42,705.05.

        Upon consideration of the pleadings, and in light of the representations of the parties at the
hearing, by the Court it is

        ORDERED, ADJUDGED and DECREED that the Amended Second Motion for Approval of
Interim Professional Fees and Expenses for Chapter 11 Debtor’s Attorneys (Doc. 196) is hereby
APPROVED in the amount of $42,705.05, consisting of compensation for legal services rendered in the
amount of $41,889.50 and reimbursement of expenses in the amount of $815.55; and it is further

       ORDERED, ADJUDGED, and DECREED that the Debtor is authorized and ordered to pay
said amount to this attorney for services rendered.

Dated this the 8th day of May, 2019.

                                                          /s/ Clifton R. Jessup, Jr.
                                                          Clifton R. Jessup, Jr.
                                                          United States Bankruptcy Judge


Prepared by:
Tazewell T. Shepard IV
Attorney for Debtor




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        In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV LLC, Case No.
18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No. 18-
82951-CRJ-11.




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